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            EXHIBIT B-8
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  S.P.ECI...U. 'PR.OV~S~ONS:
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          2. Le&S army p:rerim1s pa}'tnf'in!ll pi;:.r tilb dl:alm
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  Shannon Cook




   Ceci I :Parker
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             Cecil Parker


       Insured:    Victor Ramirez
      Property:    9049 W. 8 Mile
                   Mission, TX 78574


    Estimator:     Cecil Parker


ClaimNumber: 53-119H-310                Policy Number: 83-07-1013-3               Type of Loss: Hail

 Date of Loss:     4/2012012                         Date Received:
Date Inspected:    12/27/2015                         Date Entered:   1/25/2016

     Price List:   TXMCSX_JANl 6
                   Restoration/Service/Remodel
     Estimate:     53- l l 9H-3 l 0
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                    Cecil Parker



                                                               029005-RAMIREZ
                                                               Exterior Damage

                                     Roof

DESCRfPTION                                      QUANTITY UNIT PRICE         TA.~         O&P         RCV        DEPREC.         ACV
1. Remove 3 tab - 25 yr. - composition             27.23 SQ       47.24       0.00       257.28    1,543.63          (0.00)   1,543.63
shingle roofing - incl. felt
2. 3 tab - 25 yr. - composition shingle            3133 SQ       156.72     213.03      1,024.60   6,147.67      (1,227.51)   4,920.16
roofing - incl. felt
3. Remove Additional charge for Stec\)              13.59 SQ       8.60       0.00        23.38      !40.25          (0.00)    140.25
roof - 7112 to 9!12 slope
4. Additional charge for steep roof - 7112          13.59SQ       26.38       0.00        71.70      43020           (0.00)    430.20
to 9/l 2 slope
5. Remove Additional charge for high roof           13.59SQ        3.25       0.00         8.84       53.0l          (0.00)      53.01
(2 stories or greater)
6. Additional charge for high roof (2               !3.59SQ       !3.37       0.00        36.34      218.04          (0.00)    218.04
stories or greater)
7. Remove Ro!! roofing                               1.68 SQ      27.04       0.00          9.08      54.51          (0.00)      54.51
 8. Roll roofing                                     2.30SQ       73.28       9.39        35.58      213.51         (42.14)     171.37
 9. Asphalt starter - universal starter course     308.00LF         1.31     12.45        83.20      499.13        (l00.87)    398.26
 IO. R&R Drip edge                                 308.00LF         1.68     16.01       106.70      640.15        (113.19)    526.96
 11. R&R Roof vent - turtle type - Metal             3.00EA       43.09          3.71     26.60      159.58         (28.18)    13!.40
 12. R&R Continuous ridge vent -                    30.00LF         6.10      6.93        37.98      227.91         (41.85)     186.06
 aluminum
 13. R&RFlashlng-pipejack                            2.00EA       29.65          l.42      J2.l4      72.86         (12.66)      60.20
 14. R&RFlashing, 20" wide                          28.00LF         3.07         3.14      17.82     106.92         (18.90)      88.02
 15. Detach & Reset Digital satellite system         l.OOEA       22.30          0.00       4.46      26.76          (0.00)      26.76
 with one receiver
 16. Digital satellite system - alignment and        1.00EA       66.89          0.00      13.38      80.27          (0.00)      8021
 calibration only

 Totals: Roof                                                               266.08      1,769.08   10,614.40       1,585.30   9,029.lO




                                      Front Elevation

 DESCRIPTION                                     QUANTITY UNIT PRICE          TA.~         O&P         RCV       DEPREC.         ACV
 17. R&R Rurat mailbox                               l.OOEA        44.07         2.03       9.22       55.32         (7.89)      47.43
 18. Comb and straighten ale condenser fins          l.OOEA       i.12.25        0.00      22.46      134.71        (22.45)     112.26
 - with trip cha.rge
 19. R&RG!azingbead- Vinyl                           6.00LF         l.45         0.29       1.80       10.79         {1.49)       9.30

 Totals: Front Elevation                                                         2.32      33.48     200.82           31.83     168.99




                                       Right Elevation

  DESCRIPTION                                    QUANTITY UNIT PRICE          TAX          O&P         RCV         DEPREC.       ACV
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                   Cecil Parker




                                                       CONTINUED - Right Elevation



 DESCRIPTION                                  QUA.t'ITITY UNIT .PRICE            TA...X       O&P         RCV        DEPREC.          ACV

 20. Comb and straighten ale condenser fins       l.OOEA           l 12.25       0.00         22.46      l34.71         (22.45)      112.26
 - with trip charge
 21. R&R Gutter I downspout - aluminum -         29.00LF             4.99        4.64         29.86      179.21         (27.14)      !52.07
 up to 5"

 Totals: Ri,,aht Elevation                                                        4.64        52.32      313.92           49.59      264.33




                                   Rear Elevation

 DESCRIPTION                                  QUANTITY UNlTPRJCE                 TAX          O&P         RCV         DEPREC.          ACY
 22. Reglaze window, J - 9 sf                     l.OOEA            65.ll            3.27     13.68       82.06          (13.02)      69.04
 23. R&R Window screen, lO- 16 SF                 2.00EA            46.63            6.77     20.00      120.03          {17.72)      102.31

 Totals: Rear Elevation                                                          l0.04        33.68      202.09           30.74       171.35




                                   Left Elevation

 DESCRIPTION                                  QUANTITY UNIT PRICE                TAX          O&P         RCV         DEPREC.          ACV
 24. Comb and straighten a/c condenser fins        l.OOEA          ll2.25            0.00     22.46      134.71          {22.45)      l !2.26
 - with trip charge
 25. R&R Glazing bead - Vinyl                     9.00LF             1.45            0.43      2.70       16.l.8          (2.23)       13.95
 26. R&R Window screen, 10- 16 SF                 2.00EA            46.63            6.77     20.00      120.03          (17.72)      102.31

 Totals: Left Elevation                                                              7.20     45.16      270.92           42.40       228.52

 Total: Exterior Damage                                                         290.28      1,933.72   11,602.15        1,739.86    9,862.29



                                                                 Interior Damage

                                   Master .Bedroom                                                                                 Height:8'
                                                     686.67    SF Walls                                365.8 ! SF Ceiling
                                                    1052.4 7   SF Walls & Ceiling                      365.81 SF Floor
                                                      40.65    SY Flooring                              85.83 LF Floor Perimeter
                                                      85.83    LF Ceil.. Perimeter




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                    Cecil Parker


DESCRIPTION                                      QUANTITY UNIT PRICE                TAX      O&P         RCV        DEPREC.           ACV
27. Drywall patch I smali repair, ready for          J.OOEA           41.71         0.19      8.38      50.28           (0.00)        50.28
paint
28. Apply plant-based anti-microbial agent           4.00SF            O.l.8        0.08      0.14        0.94          {0.l4)         0.80
29. R&R Acoustic ceiling (popcorn)                 365.81 SF           0.93           i.81   68.40     410.41          (46.82)       363.59
texture
30. Paint the ceiling - one coat                   365.81 SF           0.47           3.32   35.04     210.29          (34.39)       175.90
 31. Scrape part of the walls & prep for           34333 SF            0.44           0.28   30.28      181.63          (0.00)       18!.63
 paint
 32. Seal part of the walls shellac - one coat     343.33 SF           0.51           3.40   35.70      214.20         (35.02)       179.18
 33. Apply plant-based anti-microbial agent        343.33 SF           0.18           7.36   12.58       81.74          (0.00)        81.74
 34. Texture drywall - light hand texture          343.33 SF           0.35           1.13   24.26      145.56         (24.03)       12!.53
 35. Mask and prep for paint - tape only           17l.67LF            0.41           0.57   14.20       85.15          (0.00)        85.15
 (perLF)
 36. Paint the walls - two coats                   686.67SF            0.68         10.76    95.54      573.24         (93.39)       479.85
 3 7. Content Manipulation charge - per              4.00HR           26.13           0.00   20.90      125.42           (0.00)      125.42
 hour
 38. Floor protection - self-adhesive plastic      365.81 SF           0.47           3.92   35.16      21 LOI           (0.00)      211.01
 ftlm
 39. Detach & Reset Ceiling fan & light              2.00EA          124.36           0.00   49.74      298.46           (0.00)      298.46
 40. Window drapery - hardware - Detach              3.00EA           22.39           0.00   13.44       80.61           (0.00)       80.61
 &reset
 41. Remove and rehang drapery - per hour            l.OOHR           40.85           4.04    8.18       53.07           (0.00)       53.07
 42. Window blind - horizontal or vertical -         2.00EA           22.39           0.00     8.96      53.74           (0.00)       53.74
 Detach & reset
 43. Remove Security system - motion                 1.00EA           13.89           o.oo     2.78      16.67           (0.00)       16.67
 detector
 44. (Install) Security system - motion               l.OOEA          52.82           0.00    10.56      63.38           (0.00)       63.38
 detector
 45. Clean floor - tile                            365.81 SF           0.42         !6.87     31.02     201.53           {0.00)      201.53

 Totals: Master Bedroom                                                             53.73    505.26   3,057..33         233.79     2,823.54




                                      Upstairs &>droom                                                                            Height: 8'
                                                        448.00 SF Walls                               195.00 SF Ceiling
                                                        643.00   SF Walls & Ceiling                   195.00 SF Floor
                                                         21.67 SY Flooring                             56.00 LF Floor Perimeter
                                                         56.00 LF Ceil. Perimeter



 DESCRIPTION                                      QUANTITY UNIT PRICE                 TAX     O&P        RCV         DEPREC.          ACY
 46. Scrape part of the walls & prep for            112.00 SF           0.44          0.09     9.88      59.25           (0.00)       59.25
 paint
 4 7. Seal part of the walls shellac - one coat     112.00 SF           0.51          Lll     H.64       69.87          (11.42)       58.45
 48. Apply plant-based anti-microbial agent         112.00 SF           0.18          2.40     4.12      26.68           (0.00)       26.68
 49. Texture drywall - light hand texture           112.00SF            0.35          0.37     7.92      47.49           (7.84)       39.65
  50. Mask and prep for paint - tape only           112.00LF            0.41          0.37     9.26      55.55           (0.00)       55.55
  (perLF)

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                   Cecil Parker




                                                     CONTINUED - Upstairs Bedroom



DESCRIPTION                                    QUAt"ITITY UNIT PRICE     TAX          O&P         RCV        DEPREC.             ACV

5 l. Paint the walls - two coats                 448.00SF        0.68    7.02         62.32     373.98          (60.93)        313.05
52. Content Manipulation charge - per              3.00HR       26.B     0.00         15.68      94.07           (0.00)         94.07
hour
53. Floor protection - self-adhesive plastic     195.00SF        0.47    2.09         18.76      l.12.50         (0.00)         112.50
 film
 54. Window drapery - hardware - Detach            3.00EA       22.39    0.00         13.44       80.6l          (0,00)          80.61
 & reset
 55. Remove and rehang drapery- per hour           l.OORR       40.85    4.04          8.18       53.07          (0.00)          53.07
 56. Window blind - horizontal or vertical -       3.00EA       22.39    0.00         13.44       80.61          (0.00)          80.61
 Detach & reset
 57. Clean and deodorize carpet                  195.00SF        032      6.35        12.52       81.27           (0.00)         81.27

 Totals: Upstaii:s Bedroom                                               l3.84       187.16    l,l34.95           80.19       l,054.76

 Total: Interior Damage                                                  77.57       692.42    4,192.28          313.98       3,878.30




                                     General

 DESCRIPTION                                   QUANTITY UNIT PRICE       TA..'li:     O&P         RCV         DEPREC.            ACV
 58. Residential Supervision I Project             4.00HR       50.30     0.00        40.24      241.44           {0.00)        241.44
 Management - per hour
 59. Dumpster load - Approx. 20 yards, 4           1.00EA      384.97     0.00        77.fJO     461.97           (0.00)        461.97
 tons of debris
 60. Tempo.rmy toilet (per month)                  LOO MO      13201      0.00        26.40      158.41           (0.00)        158.41
 61. Taxes, insura.'lce, pennits & fees (Bid       l.OOEA      150.00     0.00        30.00      180.00           (0.00)        180.00
 item)

 Totals: General                                                          0.00       173.64    1,041.82             0.00      1,041.82




 Labor Minimums Applied


 DESCRIPTION                                   QUANTITY UNIT PRICE       TAX          O&P         RCV         DEPREC.            ACV
 62. Window labor minimum                          1.00EA       81.11     0.00        16.22       97.33           {0.00)         97.33
 63. Water extract/remediation labor               1.00EA       28.54     0.00         5.70       34.24           (0.00)         34.24
 minimum
 64. Specialty items labor minimum                 l.OOEA      119.85     0.00        23.98      143.83           (0.00)        143.83
 65. Gutter labor minimum                          l.OOEA      135.31     0.00        27.06      162.37           (0.00)        162.37

 Totals: Labor Minimums Applied                                            0.00       72.96      437.77                o.oo     437.77

 Line Item T<>ails: 029005-RAMIREZ                                      367.85      2,872.74   17,274.02        2,053.84      15,220.18

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               Cecil Parker




Grand Total Areas:
     2,505.33 SF Walls              995.44 SF Ceiling               3,500.78 SF Walls and Ceiling
       995.44 SF Floor              110.60 SY Flooring                313.17 LF Floor Perimeter
         0.00 SF Long Wall            0.00 SF Short Wall              313 .l 7 LF Ceil. Perimeter

       995.44 Floor Area           l,!02.50 Total Area              2,505.33   Interior Wall Area
     2,962.50 Exterior Wall Area     329.17 Exterior Perimeter of
                                            Walls

         0.00 Surface Area             0.00 Number of Squares           0.00 Total Perimeter Length
         0.00 Total Ridge Length       0.00 Total Hip Length




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                   Cecil Parker




                                                     Summary for Dwelling
 Line Item Total                                                                         14,033.43
 Material Sales Tmc                                                                        326.71
 Cleaning Mtl Tax                                                                            3.18

 Subtotal                                                                                14,363.32
 Overhead                                                                                 1,436.37
 Profit                                                                                   1,436.37
 Cleaning Sales Tax                                                                          37.96
 Replacement Cost Value                                                                 $17,274.02
 Less Depreciation                                                                       (2,053.84)
 Actual Cash Value                                                                      $15,220.18
 Net Claim                                                                              $15,220.18

 Total Recoverable Depreciation                                                           2,053.84

 Net Claim if Depreciation is Recovered                                                 $17,274.02




                                          Cecil Parker




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                  Cecil Parker




                                           Recap of Taxes, Overhead and Profit



         Overhead (10%)     Profit (10%)   Material Sales Cleaning Mtl Tax   Cleaning Sales   Manuf.Home      Storage Rental
                                            Tax (8.25%)            (8.25%)     Tax (8.25%)       Tax{5%)        Tax(S.25%)

 Line Items
                1,43{].37       1,436.37          326.7i              3.18            37.96          0.00               0.00

 Total
                l,436.37        1,436.37          326.71              3.18            37.96          0.00               0.00




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                Cecil Parker



                                          Recap by Room

Estimate: 029005-RAMIREZ

Area: Exterior Damage
       Roof                                                       8,579.24      61.13%
        Front Elevation                                             165.02       1.18%
        Right Elevation                                             256.96       1.83%
        Rear Elevation                                              158.37       1.13%
        Left Elevation                                              218.56       1.56%

        Area Subtotal: .Exterior Damage                            9,378.15     66.83%

Area: Interior Damage
       Master Bedroom                                              2,498.34      17.80%
       Upstairs Bedroom                                              923.95       6.58%

        Area Subtotal: Interior Damage                             3,422.29      24.39%
        General                                                      868.18       6.19''!-0
        Labor Minimums Applied                                       364.81       2.60%

Subtotal of Areas                                                 14,033.43     100.00%


Total                                                             14,033.43     100.00"/o




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              Cecil Parker


                             Recap by Category with Depreciation

O&Pitems                                                    RCV       Depree.       ACV
CONT: GARMENT & SOFT GOODS CLN                               81.70                    81.70
CLEANING                                                    216.04                  216.-04
CONTENT MANIPULATION                                        182.91                  182.91
GENERAL DEMOLITION                                        2,139.67                2,139.67
DRYWALL                                                     435.20       78.69      356.51
ELECTRICAL                                                   52.82                    52.82
ELECTRICAL - SPECIAL SYSTEMS                                 89.19                    89.19
PERMITS Al"lD FEES                                          150.00                  150.00
HEAT, VENT & AIR CONDITIONING                               336.75       67.35      269.40
LABOR ONLY                                                  201.20                  201.20
LIGHT FIXTURES                                              248.72                  248.72
PAINTING                                                  1,755.96       235.15   1,520.81
ROOFING                                                   6,881.35     1,585.30   5,296.05
SOFFIT, .FASCIA, & GUTTER                                   271.03        27.14     243.89
SPECIALTY ITEMS                                             159.31         7.89     151.42
TEMPORARY REPAIRS                                           132.01                  132.01
\1VINDOW REGLAZING & REPAIR                                 260.95       52.18      208.77
WINDOW TREATMENT                                            246.29                  246.29
WINDOWS - WOOD                                               81.11                    81.ll
WATER EXTRACTION & REMEDIATION                              111.22         0.14      lll.08
 O&P Items Subtotal                                       14,033.43    2,053.84   11,979.59
 Material Sales Tax                                          326.71                  326.71
 Cleaning Mtl Tax                                              3.18                    3.18
 Overhead                                                  1,436.37                1,436.37
 Profit                                                    1,436.37                1,436.37
 Cleaning Sales Tax                                           37.96                   37.96

 Total                                                    17,274.02    2,053.84   15,220.18




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